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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )             CASE NO. 8:15CR201
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )             TENTATIVE FINDINGS
                                             )
JORGE LUIS URESTI-BELTRAN,                   )
                                             )
             Defendant.                      )

      The Court has received the Presentence Investigation Report and Addendum

(“PSR”), and the parties’ objections (Filing Nos. 88 and 90). See Order on Sentencing

Schedule, ¶ 6. The Court advises the parties that these Tentative Findings are issued with

the understanding that, pursuant to United States v. Booker, 543 U.S. 220 (2005), the

sentencing guidelines are advisory.

      Accordingly,

      IT IS ORDERED:

      1.     The government’s Objection to Revised1 Presentence Investigation Report

and Plaintiff’s Statement (Filing No. 88) and the Defendant’s Statement of Objections to

Presentence Investigation Report and Addendum (Filing No. 90) will be heard at the

sentencing hearing;

      2.     The Court intends to adopt the PSR in all other respects;

      3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are


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      The Court notes that the PSR sent to Chambers and the parties on January 29,
2016 was not entitled “Revised” as indicated in Filing No. 88.
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required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

these tentative findings are final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 10th day of February, 2016.

                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          Chief United States District Judge




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